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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

STATE OF OKLAHOMA,                        )
                                          )
                     Plaintiff,           )
                                          )
vs.                                       )             Case No. CIV-24-00461-JD
                                          )
MIGUEL CARDONA, in his official capacity )
as the Secretary of Education; and UNITED )
STATES DEPARTMENT OF EDUCATION, )
                                          )
                     Defendants.          )

                    ORDER SETTING EXPEDITED BRIEFING

       Before the Court is Plaintiff’s Motion for Leave to Supplement its Motion for

Preliminary Injunction (“Motion”). [Doc. No. 27]. The Motion seeks to supplement

Plaintiff’s motion for preliminary injunction to add three declarations from three

witnesses supporting the preliminary injunction motion.

       Under Local Civil Rule 7.1(g), this matter is set for expedited briefing. Any

response brief in opposition to this Motion by Defendants shall be filed on or before

Friday, July 12, 2024. No reply will be permitted.

       As with all motions before this Court, the parties are expected to confer and see if

they can reach any agreements on the Motion. If the issues described above are resolved

by agreement at any time, counsel shall immediately notify the Court.

       IT IS SO ORDERED this 8th day of July 2024.
